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 3
 4                             UNITED STATES DISTRICT COURT

 5                                  DISTRICT OF NEVADA

 6                                             ***

 7
 8 UNITED STATES OF AMERICA,       )
                                   )
 9            Plaintiff,           )
                                   )
10  vs.                            )                 2:13-cr-051-GMN-CWH
                                   )
11  CANDICE BLACKWELL,             )
                                   )
12            Defendant.           )                        ORDER
   ________________________________)
13
14        On April 30, 2013, the Court granted Jay L. Siegel, Esq.’s sealed “Motion for Leave

15 to Withdraw as Counsel and/or Appointment of New Counsel” (#65) and ordered new
16 counsel appointed. (#69). Therefore;
17        IT IS HEREBY ORDERED that Daniel J. Albregts, Esq. is appointed as counsel for

18 Candice Blackwell in place of Jay L. Siegel, Esq. for all future proceedings.
19        IT IS FURTHER ORDERED that Mr. Siegel shall forward the file to Mr. Albregts

20 forthwith.
21                       3rd
          DATED this              day of May, 2013.
22
          Nunc Pro Tunc Date: May 2, 2013.
23
24
25                                                   __________________________
                                                     CARL W. HOFFMAN
26                                                   United States Magistrate Judge

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